                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
United States of America,                         )
                                   Plaintiff,     )
vs.                                               ) Case No. 08-0026-04-CR-W-FJG
Christopher L. Elder,                             )
                                   Defendant.     )

                                         ORDER
       Pending before the Court is the motion to dismiss the indictment as to defendant
Elder because of government misconduct (Doc. #93), filed August 22, 2008, and the
government’s suggestions in opposition (Doc. #113), filed September 9, 2008.
       Evidentiary hearing on this matter was held on October 21, 2008. Thereafter, on
December 12, 2008, United States Magistrate Judge Sarah W. Hays entered a report and
recommendation (Doc. #153) which recommended denying the above-mentioned motion.
No objections to Magistrate Hays’ report and recommendation were filed.
       The Court, after independent review of the record and applicable law, adopts and
incorporates by reference herein, the magistrate’s findings and conclusions. Therefore, the
Court finds that the motion to dismiss the indictment as to defendant Elder because of
government misconduct (Doc. #98), filed August 22, 2008, must be denied.
       Accordingly, it is
       ORDERED that the magistrate’s findings and conclusions are hereby adopted and
incorporated herein by reference. It is further
       ORDERED that the motion to dismiss the indictment as to defendant Elder because
of government misconduct (Doc. #93), filed August 22, 2008 is denied.


                                                  /s/Fernando J. Gaitan, Jr.
                                                  Judge Fernando J. Gaitan, Jr.
                                                  Chief United States District Judge

Dated: 2/9/2009
Kansas City, Missouri




      Case 4:08-cr-00026-FJG        Document 179       Filed 02/09/09   Page 1 of 1
